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     Attorney at Law
 2   303 Bradford Street, Suite C
     Redwood City, CA 94063-1529
 3   Tel: 650 365-8300
     Fax: 650 366-8987
 4
     Attorney for Defendant
 5   AKRAM CHAUDHRY
 6
 7
                                   UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,
                                                                No. CR 05-00284 SI
12                    Plaintiff,
13            v.                                                SUBSTITUTION OF
                                                                ATTORNEYS AND ORDER
14   AKRAM CHAUDHRY                                             RE SAME
15                    Defendant.
16   ______________________________/
17
              Comes now defendant, AKRAM CHAUDHRY, and substitutes Frank Bell,
18
     Attorney at Law, as his attorney in this matter, in the place of attorney, Josh Cohen,
19
     Assistant Federal Public Defender.
20
21
     Dated: August 2, 2005                              ________/s/____________________
22                                                      AKRAM CHAUDHRY
                                                        Defendant
23
24
              I accept the substitution and agree to act as new counsel for defendant,
25
     //////////
26
27
28   SUBSTITUTION OF ATTORNEYS                                                              Page -1-
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 1   AKRAM CHAUDHRY, for all purposes.
 2
 3   Dated: August 2, 2005                                    ________/s/____________________
                                                              FRANK BELL
 4                                                            Counsel for Defendant
                                                              AKRAM CHAUDHRY
 5
 6            I consent to the substitution of counsel and ask to be relieved as counsel in this
 7   matter.
 8
 9   Dated: August __, 2005                                   _______/s/_____________________
                                                              JOSH COHEN
10                                                            Asst. Federal Public Defender
11                                                       ISTRIC
                                                    TES D      TC
12   Good cause appearing:                        TA


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13            IT IS SO ORDERED:


                                                                            RT
                                                              TED
                                        UNIT




14                                                        GRAN

                                                                                   R NIA
15   Dated:                                                     ____________________________
                                                                Hon.  Susan
                                                                      Illston Illston
                                        NO




                                                                   an District
                                                                SusS.
16                                                        Judge U.              Judge
                                                                                  FO
                                          RT




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28   SUBSTITUTION OF ATTORNEYS                                                                           Page -2-
